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                     SO ORDERED: April 13, 2023.




                           ______________________________
                           Andrea K. McCord
                           United States Bankruptcy Judge




                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION

IN RE:                                           )
         AMY SUE HOLDIN                          ) CASE NO. 22-70566–AKM-13
                                                 ) SSN xxx-xxx-6699
             DEBTOR(S)                           )

                                 AMENDED ORDER TO PAY
                                     (Arrearage Cure)

     (“Debtor”)
     AMY SUE HOLDIN


     (“Payor”)
     SCHULTHEIS INSURANCE AGENCY
     ATTN: PAYROLL DEPARTMENT
     32 N. WEINBACH AVE.
     EVANSVILLE, IN 47711-


     COMES NOW the Court and pursuant to 11 USC §1325(c) does now

     ORDER that the above Payor shall deduct from the earnings of said debtor the total of

                                    $703.00 per month; then
                          $612.00 per month commencing January 2024

     which may be divided equally among pay periods, such deductions to begin on the next
     pay day following the receipt of this order and deduct a similar amount; (for each pay
     period thereafter, including any wages, commissions, contract payments, profit sharing,
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  or any other source of income. It is further ordered that the payor shall remit the withheld
  sum no less frequently than monthly to:



                                   Robert P. Musgrave
                                   Chapter 13 Trustee
                                     P. O. Box 6006
                                 Memphis, TN 38101-6006

  Each such remittance shall be made payable to “Robert P. Musgrave, Trustee”, and shall
  note the above debtor name and case number on each remittance. The remittance may
  also be made by electronic transfer; to make such arrangements contact the Trustee office
  at trusteegeneral@chap13evv.com.

  IT IS FURTHER ORDERED that the Payor shall notify the Trustee if the Debtor
  ceases employment or if the income owed to the Debtor ceases for any other reason.

  This Order is not subject to any state or federal garnishment laws or restrictions, and no
  processing fee of any kind is allowed or authorized to withhold the above sum from the
  Debtor’s income.

  This is a Court Order and may not be terminated without the written order of the Court or
  the written authorization of the Trustee

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